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11
                       IN THE UNITED STATES DISTRICT COURT
12                     FOR CENTRAL DISTRICT OF CALIFORNIA
                                SOUTHERN DIVISION
13
     The PLS.com, LLC, a California              Case No. ___________
14   limited liability company,
15                                               COMPLAINT
                         Plaintiff,
16                                               JURY TRIAL DEMANDED
17                v.
18   The National Association of Realtors,
19
                         Defendant.
20

21
           Plaintiff The PLS.com, LLC, (“PLS”), by and through its undersigned
22
     attorneys, brings this action for trebled compensatory damages under the antitrust
23
     laws of the United States against the above-named Defendant, demanding a trial by
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     jury. For its Complaint against Defendant National Association of Realtors (“NAR”),
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     PLS alleges the following:
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 1                               NATURE OF THE CASE
 2        1.     For over 50 years, residential real estate in the United States has been
 3 primarily marketed through the multiple listing services (“MLSs”) owned by

 4 members of the NAR.

 5        2.     NAR, by itself and through its affiliates, controls competition in the
 6 residential real estate brokerage industry through its members’ ownership of most of

 7 the nation’s MLSs.

 8        3.     NAR has frequently used its control over MLSs to exclude new and
 9 disruptive market entrants to the benefit of NAR members, and the detriment of

10 consumers. NAR and its members have abused the market power conferred upon

11 them by control over the MLS system time and time again.

12        4.     NAR’s ability to control competition in the residential real estate
13 brokerage industry rests on the market power of the MLSs operated by its members.

14        5.     In recent years, the edifice on which NAR’s ability to control
15 competition was built had begun to crumble. For the first time in the life of most

16 Americans, an alternative to the NAR-affiliated MLS system had emerged, promising

17 a wave of innovation, competition, and new entry.

18        6.     Home sellers have for years sought to retain the services of licensed real
19 estate professionals to market their homes outside of the NAR-affiliated MLS system.

20 Sellers sought these services for a number of reasons. Many sellers desired for

21 reasons of privacy or security to market their home without the wide exposure that

22 comes from listing a property in NAR-affiliated MLSs. Many sellers desired to test

23 the market for their home without the stigma that comes from listing and then delisting

24 the property on a NAR-affiliated MLS.

25        7.     Listings marketed by licensed real estate professionals outside the NAR-
26 affiliated MLS system are sometimes called “pocket listings.” Demand for pocket

27 listing services has skyrocketed in recent years, particularly in large and competitive

28 real estate markets such as Los Angeles, Orange County, San Francisco, Miami, and


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 1 Washington D.C. In some of these markets, 20 percent or more of residential real

 2 estate was being sold outside the NAR-affiliated MLS system, primarily as pocket

 3 listings. NAR recognized in 2018 that NAR members were competing with one

 4 another to meet consumer demand for pocket listing services.

 5        8.     As consumer demand for pocket listing service grew, so did the need for
 6 a centralized, searchable repository of pocket listings. PLS was formed as the “Pocket

 7 Listing Service” to meet this need. Pocket listings had historically been marketed

 8 bilaterally by licensed real estate professionals, face to face, through phone calls, or

 9 by email. By joining PLS, licensed real estate professionals could privately share

10 pocket listings with other licensed real estate professionals while avoiding the

11 exposure of those listings through the NAR-affiliated MLSs. For home sellers and

12 the licensed real estate professionals serving those home sellers, the PLS offered all

13 of the benefits of the NAR-affiliated MLSs while retaining the privacy and discretion

14 that would be lost by listing with NAR-affiliated MLSs. For home buyers and the

15 licensed real estate professionals serving those home buyers, the PLS offered an

16 opportunity to learn about properties that were not widely marketed.

17        9.     The surge in consumer demand for pocket listings, and the rise of a
18 listing network to market pocket listings effectively, was a competitive threat to the

19 viability of the NAR-affiliated MLS system. These market changes also threatened

20 NAR’s ability to control competition in the residential real estate brokerage industry.

21        10.    NAR-affiliated MLSs were aware of this competitive threat. Competing
22 MLS systems met together privately and through NAR to discuss this threat and

23 formulated a common plan to eliminate that competitive threat.

24        11.    In September 2019, the largest NAR-affiliated MLSs, including
25 California Regional Multiple Listing Service, Bright MLS, as well as Midwest Real

26 Estate Data, jointly authored and published a white paper on pocket listings and the

27 future of the NAR-affiliated MLS system.        The white paper provided that “The
28 multiple listing service as we know it is in jeopardy and this call-to-action serves as


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 1 an impassioned plea to brokers and MLSs to take immediate action.” The white paper

 2 identified the declining share of properties listed in NAR-affiliated MLSs due to the

 3 “persistent, and increasing, presence of off-MLS home marketing” as among the

 4 “largest challenges MLSs face[.]” The white paper further noted the risk that one or

 5 more private listing networks would obtain a critical mass of pocket listings that

 6 “could fuel the trend to power private listing databases in general” which “will soon

 7 exceed, or circumvent, the service MLSs offer.”

 8        12.   PLS was the listing network that NAR-affiliated MLSs feared. Having
 9 amassed nearly 20,000 members, PLS had or would have soon attracted a critical

10 mass of members and listings to create a powerful network effect that was likely to

11 quickly lead to substantial market share as new members joined, bringing new

12 listings, attracting in turn more new members and more new listings in a virtuous and

13 self-sustaining cycle. The more competitive future that the NAR-affiliated MLSs

14 feared had arrived.

15        13.   Acting through NAR, the NAR-affiliated MLSs moved swiftly to
16 eliminate the competitive threat from listing networks aggregating pocket listings. In

17 November 2019, NAR promulgated a mandatory rule governing all NAR-affiliated

18 MLSs.     The rule, called the Clear Cooperation Policy, requires NAR members
19 participating in NAR-affiliated MLSs to submit their listings to the MLS within one

20 business day of marketing the property to the public. For purposes of the Clear

21 Cooperation Policy, NAR defines marketing a property to the public to include listing

22 on private “multi-brokerage listing sharing networks” such as PLS. NAR members

23 that violate the Clear Cooperation Policy face discipline and punishment by other

24 NAR members.

25        14.   The Clear Cooperation Policy eliminates the viability of the private
26 network of pocket listings that the MLS conspirators and other NAR-affiliated MLSs

27 had identified as a competitive threat. By eliminating the threat to NAR-affiliated

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 1 MLSs, NAR cements its ability to control competition in the market for residential

 2 real estate brokerage services.

 3        15.    Through the Clear Cooperation Policy, NAR and the MLS conspirators
 4 eliminated the possibility of a more competitive future in the market for residential

 5 real estate listing network services. A once-in-a-lifetime opportunity for competition

 6 in a monopolized market has been lost. NAR’s conduct has harmed competition and

 7 consumers, and is illegal.

 8                                         PLAINTIFF
 9        16.    Plaintiff PLS is a California Limited Liability Company headquartered
10 in Los Angeles, California. At the time the Clear Cooperation Policy was adopted,

11 PLS operated the largest network of licensed real estate professionals marketing

12 pocket listings in the United States.

13                                     DEFENDANT
14        17.    Defendant NAR is a trade association headquartered in Chicago, Illinois,
15 that establishes and enforces policies and professional standards for its over 1.4

16 million members. NAR is incorporated under the laws of Illinois. Its 54 state and

17 territorial associations and over 1,200 local associations are members of, and are

18 overseen by, NAR.         NAR promulgates rules governing the operation of the
19 approximately 600 MLSs that are affiliated with NAR through their ownership or

20 operation by NAR’s state, local and territorial associations. NAR is registered to do

21 business as a non-profit in the state of California and advertises and solicits members

22 in the state. It has more than 185,000 members in California, derives revenue from

23 California, and holds meetings in California. NAR also directs its California-based

24 members to follow rules it promulgates.

25                        NON-PARTY CO-CONSPIRATORS
26        18.    California Regional Multiple Listing Service, Inc. (“CRMLS”) is the
27 largest MLS in the United States with over 100,000 members who have access to

28 more than 70 percent of listings for sale in California.       CRMLS is owned and

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 1 controlled by NAR members operating through 39 local associations of NAR

 2 throughout the State of California.        CRMLS is headquartered in Chino Hills,
 3 California, and is incorporated under the laws of California. CRMLS is a NAR-

 4 affiliated MLS governed and controlled by NAR rules.

 5        19.     Bright MLS, Inc. (“Bright MLS”) is a MLS serving the Mid-Atlantic
 6 region of the United States with over 88,000 members. Bright MLS is owned and

 7 controlled by NAR members operating through 43 local associations of NAR

 8 members operating through local associations of NAR throughout the States of New

 9 Jersey, Delaware, Maryland, Pennsylvania, West Virginia, the Commonwealth of

10 Virginia, and the District of Columbia. Bright MLS is headquartered in Rockville,

11 Maryland, and is incorporated under the laws of Delaware. In a typical year, Bright

12 MLS will facilitate approximately $70 billion in residential real estate transactions.

13 Bright MLS is a NAR-affiliated MLS governed and controlled by NAR rules.

14        20.     Midwest Real Estate Data, LLC (“MRED”) is a MLS serving northern
15 Illinois, southern Wisconsin, and northwest Indiana with over 45,000 members.

16 MRED is indirectly owned and controlled by NAR members operating through 15

17 local associations of NAR throughout the States of Illinois, Wisconsin, and Indiana.

18 MRED is headquartered in Lisle, Illinois, and organized under the laws of Illinois.

19                     JURISDICTION, STANDING, AND VENUE
20        21.     Plaintiff brings this action to recover damages, including treble damages,
21 cost of suit, and reasonable attorney’s fees, arising from NAR’s violations of Section

22 1 of the Sherman Antitrust Act, 15 U.S.C. § 1.

23        22.     This Court has subject matter jurisdiction of Plaintiff’s claim pursuant to
24 28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 1337 (commerce and antitrust

25 regulation).

26        23.     Plaintiff has standing to bring this action under Section 4 of the Clayton
27 Act, 15 U.S.C. § 15.

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 1        24.    This Court has personal jurisdiction over Defendant and venue is proper
 2 in the Central District of California and this division under Sections 4 and 12 of the

 3 Clayton Act, 15 U.S.C. §§ 15, 22, and 28 U.S.C. § 1391, because NAR and CRMLS

 4 regularly transact business within the Central District of California, and because

 5 Bright MLS and MRED formulated, led and joined a conspiracy among NAR

 6 members and NAR-affiliated MLSs that expressly aimed their intentional and

 7 anticompetitive conduct at California.          NAR and its co-conspirators knew and
 8 specifically intended that their conspiracy would be formulated, negotiated, and

 9 implemented in California, would exclude competition in California (where they

10 knew PLS was based), and would harm consumers in California. NAR and its co-

11 conspirators worked in concert to effect NAR’s adoption of the Clear Cooperation

12 Policy at a 2019 NAR Convention in California, and NAR and its co-conspirators

13 committed overt acts in furtherance of the conspiracy in California. CRMLS, Bright

14 MLS, and MRED (together, the “MLS Conspirators”) were among the MLSs that

15 caused the September 2019 white paper, setting forth the competitive threat from

16 pocket listings and the need for collective action among NAR-affiliated MLSs, to be

17 published from San Juan Capistrano, California.

18        25.    NAR and the MLS Conspirators are engaged in, and their activities
19 substantially affect, interstate trade and commerce. Billions of dollars flow across

20 state lines in the mortgage market to finance the sales of residential real estate

21 facilitated by NAR and the MLS Conspirators.

22                   RESIDENTIAL REAL ESTATE BROKERAGE
23        26.    State law regulates entry into the residential real estate brokerage
24 services industry. There are two licensee categories: (i) the real estate broker; and (ii)

25 the individual real estate licensee or agent. Brokers supervise agents who work

26 directly with consumers. Agents solicit listings, work with homeowners to sell their

27 homes, and show buyers homes that are likely to match their preferences. Brokers

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 1 often provide agents with branding, advertising, and other services that help the agents

 2 complete transactions.

 3        27.      Although there is no legal impediment to consumers buying and selling
 4 homes on their own, the large majority of consumers choose to work with a real estate

 5 broker. The substantial majority of residential real estate transactions involve the

 6 services of licensed real estate professionals. According to NAR, in 2017, 92 percent

 7 of sellers sold their home and 87 percent of buyers purchased their home with the

 8 assistance of a real estate broker.

 9        28.      The vast majority of licensed real estate professionals active in the
10 residential real estate brokerage services industry are NAR members.

11        29.      NAR promulgates rules and codes of conduct for its members and for its
12 state, territorial and local associations. These associations, in turn, are required to

13 adopt NAR’s rules and bylaws and to enforce NAR-promulgated rules upon the

14 licensed real estate professionals comprising the associations.

15        30.      Until recently, with the surge in consumer demand for pocket listings,
16 NAR-affiliated MLSs facilitated the vast majority of residential real estate

17 transactions.

18        31.      MLSs are joint ventures among virtually all licensed real estate
19 professionals operating in local or regional areas. Licensed real estate professionals

20 regard participation in their local MLS as critical to their ability to compete with other

21 licensed real estate professionals for home sellers and buyers. The MLS combines its

22 members’ home listings information into a database, usually in electronic form. The

23 MLS then makes these data available to all licensed real estate professionals who are

24 members of the MLS. By listing in the MLS, a licensed real estate professional can

25 market properties to a large set of potential buyers. By searching the MLS, a licensed

26 real estate professional representing a buyer can provide that buyer with information

27 about all the listed homes in the area that match the buyer’s housing needs. An MLS

28 is thus a market-wide joint venture of competitors that possesses substantial market


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 1 power: to compete successfully, a licensed real estate professional must be a member;

 2 and to be a member, a licensed real estate professional must adhere to any restrictions

 3 that the MLS imposes.

 4        32.    The state, territorial and local associations of NAR (sometimes referred
 5 to as “Realtor® associations”) own NAR-affiliated MLSs. NAR requires each of

 6 these associations to comply with the mandatory provisions in NAR’s Handbook on

 7 Multiple Listing Policy.

 8        33.    NAR does not require that licensed real estate professionals be NAR
 9 members to participate in NAR-affiliated MLSs. In Alabama, California, Florida, and

10 Georgia, NAR-affiliated MLSs are prohibited by law from promulgating any such

11 requirement. As a result, many licensed real estate professionals that are not NAR

12 members participate in NAR-affiliated MLSs.

13        34.    NAR-affiliated MLSs must adopt new or amended NAR policies. NAR’s
14 Handbook on Multiple Listing Policy states that NAR-affiliated MLSs “must conform

15 their governing documents to the mandatory MLS policies established by the National

16 Association’s Board of Directors to ensure continued status as member boards and to

17 ensure coverage under the master professional liability insurance program.”

18        35.    One of the many benefits that NAR provides to its state, territorial and
19 local associations and the MLSs owned by those associations is professional liability

20 insurance. To be eligible for this insurance, associations and their MLSs must comply

21 with the mandatory provisions in the Handbook on Multiple Listing Policy. NAR

22 threatens to withhold these valuable insurance benefits from associations and MLSs

23 that fail to comply with these mandatory provisions. NAR’s Handbook states that

24 “[t]hose associations or multiple listing services found by the National Association to

25 be operating under bylaws or rules and regulations not approved by the National

26 Association are not entitled to errors and omissions insurance coverage and their

27 charters are subject to review and revocation.”

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 1        36.    NAR reviews the governing documents of its state, territorial and local
 2 associations to ensure compliance with its rules. NAR requires its state, territorial

 3 and local associations to demonstrate their compliance with these rules by periodically

 4 sending their governing documents to NAR for review.

 5                      THE NAR-AFFILIATED MLS SYSTEM
 6        37.    For decades, the NAR-affiliated MLSs have often been regarded as a
 7 permanent, unavoidable, and inevitable feature of the residential real estate brokerage

 8 industry. NAR-affiliated MLSs have for decades enjoyed durably high market shares

 9 in markets across the country.

10        38.    The majority of NAR-affiliated MLSs, including Bright MLS, are
11 managed as for-profit enterprises. Regardless of their corporate form, the majority of

12 NAR-affiliated MLSs, and MRED, serve directly or indirectly as the primary revenue

13 stream for their owners, the state, territorial and local associations of NAR, whose

14 shareholders use the funds for other purposes.

15        39.    All NAR-affiliated MLSs are actual or potential competitors with other
16 NAR-affiliated MLSs. NAR-affiliated MLSs frequently have overlapping service

17 areas and licensed real estate professionals may choose to pay for access to only one

18 of several available NAR-affiliated MLSs.

19        40.    NAR-affiliated MLSs charge licensed real estate professionals for access
20 to each MLS. The prices charged by NAR-affiliated MLSs to licensed real estate

21 professionals for access to the MLS are excessive, above competitive levels, and

22 unrelated to the MLSs’ cost of service.

23        41.    NAR-affiliated MLSs have been slow to innovate and unresponsive to
24 consumer demand. According to NAR-affiliated MLSs writing in 2019, “the software

25 used in most MLSs has become obsolete.”

26        42.    According to a white paper commissioned by NAR-affiliated MLSs in
27 2017, “Almost everyone interviewed for this study feels that the MLS industry has

28 meandered aimlessly for over a decade. There are of course various reasons, but the


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 1 dominant contributing factor is the fact that most MLS organizations are owned and

 2 governed by Realtor® associations.             And Realtor® associations, and their
 3 fragmentally managed committee structure, are simply not geared to compete in

 4 today’s new, bold, fast-paced technology arena.”

 5        43.    A Chief Executive Officer of one NAR-affiliated MLS stated in 2017,
 6 “As an industry, we have outdated technology that is the result of the community we

 7 represent resisting change. There are perhaps 30 to 40 MLSs across the country that

 8 have it right or are moving toward the right direction, but there are also 650 MLS

 9 organizations that are continuing to rest on how they have done it for decades. They

10 are ignoring the fact that the marketplace and the needs of the user have changed, and

11 their failure to respond is spiraling the MLS industry to the bottom.”

12        44.    Another Chief Executive Officer of a NAR-affiliated MLS stated in
13 2017, “The MLS has a business model problem. The industry has forgotten who their

14 customers are. The industry’s longstanding ‘product in a box’ solution is no longer

15 valid and the platform it is delivered on is antiquated. In essence, the MLS is still

16 trying to operate as a gatekeeper and continues to block real estate professionals from

17 having access to the best-in-class products they need to help them do their job.”

18        45.    The regionally-fragmented system of NAR-affiliated MLSs is inefficient
19 and imposes unnecessary and redundant costs on licensed real estate professionals.

20 According to an executive of a large real estate brokerage in 2017, “Mid-sized and

21 large brokerages that operate across states and regions face unique challenges in

22 having to belong to multiple MLSs, and that can be costly, redundant and inefficient.”

23 According to a 2015 study commissioned by NAR, “An estimated $250-$500 million

24 in MLS fees are attributable to duplication, redundancy, and excess among MLSs

25 every year. If economies of scale were implemented nationwide, MLS fees would be

26 significantly less.”

27        46.    There is consumer demand for a listing network aggregating listings
28 nationwide. According to a 2015 study commissioned by NAR, “A national MLS has


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 1 been talked about for decades, but never before has the likelihood of it actually

 2 becoming a reality been so high.”

 3        47.    One driver of consumer demand for a national listing network service is
 4 attributable to large brokerages, which purchase listing network services nationwide.

 5 These brokerages can belong to dozens of MLSs across the country with often

 6 different rules, policies, technology and underlying systems. In 2013, dozens of large

 7 brokerages threatened to pull out of NAR-affiliated MLSs and create their own multi-

 8 brokerage listing network, voicing concerns about MLSs overcharging for MLS

 9 services.

10        48.    Another driver of consumer demand for a national listing network
11 service is attributable to brokerages that specialize in serving clients interested in

12 listing properties that may be of interest to buyers nationwide, clients interested in

13 considering the purchase of properties nationwide, or both. These properties are

14 sometimes relatively unique and have high listing prices.

15   POCKET LISTINGS CREATE THE OPPORTUNITY FOR COMPETITION
16        49.    MLSs, like other networks, exhibit what economists call “network
17 externalities,” meaning the value of the network services is a function of the number

18 of trading partners connected by the network.

19        50.    The dominance of NAR-affiliated MLSs is a function of the percentage
20 share of listings submitted to NAR-affiliated MLSs by licensed real estate

21 professionals. When all or almost all listings are submitted to the NAR-affiliated

22 MLSs, the possibility of effective competition to those MLSs is nil. Conversely, when

23 listings are not submitted to the MLS and are marketed by licensed real estate

24 professionals in other ways, the possibility of competition to the MLSs emerges. And

25 when a critical mass of listings becomes available for a competing listing network,

26 the possibility of head-to-head, network-to-network competition becomes real.

27        51.    The dominance of NAR-affiliated MLSs is neither inevitable nor
28 efficient. The surge in consumer demand for pocket listings created, for the first time


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 1 in living memory, the possibility of competition for the NAR-affiliated MLSs. Pocket

 2 listings presented the opportunity for a competing listing network to aggregate a

 3 critical mass of listings that could support a listing network competing with the NAR-

 4 affiliated MLSs.

 5        52.    According to a 2015 study commissioned by NAR, “Off-MLS listings
 6 may contribute to the unraveling of the MLS as we know it, and its replacement by a

 7 private network that serves to benefit a certain group of participants.”

 8        53.    There is substantial and unmet demand among licensed real estate
 9 professionals, and among the customers they serve, for an alternative to the NAR-

10 affiliated MLSs.

11        54.    According to a 2015 study commissioned by NAR, “A number of
12 industry initiatives suggest that the current MLS-centric era might be coming to an

13 end. After half a century of operating as the only gateway, there is a strong likelihood

14 that the MLS may lose its exclusive positioning as the principal source of real estate

15 listings.”

16        55.    According to the President and Chief Executive Officer of a network of
17 large real estate brokerage firms in 2017, “MLS has been of great value to agents, but

18 their loyalty to the MLS is waning … For the first time, the industry has entered a

19 world where there are realistic and legitimate attempts to create alternatives to the

20 MLS that exists today.”

21        56.    As one licensed real estate professional wrote after the NAR Clear
22 Cooperation Policy was adopted, “I long for the day when a private company decides

23 to create an MLS platform that competes with association-owned MLSs freeing us

24 from the clutches of NAR.”

25        PLS WAS A COMPETITIVE THREAT TO NAR’S MLS SYSTEM
26        57.    PLS was formed in 2017 to address the demand of licensed real estate
27 professionals, and for the consumers they serve, for an alternative to the NAR-

28 affiliated MLS system.


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 1        58.    Like the NAR-affiliated MLSs, PLS is a private network limited to
 2 licensed real estate professionals. All licensed real estate professionals were eligible

 3 to be members in the PLS.

 4        59.    The PLS, like the NAR-affiliated MLSs, is a means for licensed real
 5 estate professionals to cooperate in the sale of residential real estate. Like the NAR-

 6 affiliated MLSs, PLS operates an electronic database of listings submitted by PLS

 7 members with an offer of compensation to other PLS members that can find a buyer.

 8 Like the NAR-affiliated MLSs, PLS then makes these data available to all licensed

 9 real estate professionals who are members of the PLS.

10        60.    Unlike the NAR-affiliated MLSs, licensed real estate professionals
11 listing on PLS could share as much or as little information about the listing as their

12 client desired. In this way, the PLS combined the powerful network efficiencies of

13 the MLS with the privacy and discretion of the pocket listing.

14        61.    Before PLS was launched, there was no place for licensed real estate
15 professionals operating in separate brokerage firms to privately list, search, organize

16 and share information about pocket listings.

17        62.    PLS’s fees to licensed real estate professionals would have been
18 substantially lower than the fees charged for similar services to licensed real estate

19 professionals by the NAR-affiliated MLSs.

20        63.    PLS was designed and marketed as a national platform, unlike the
21 fragmented NAR-affiliated MLS system that imposes duplicative and burdensome

22 fees on brokerages operating in multiple geographic markets.

23        64.    PLS was an actual or potential competitor to every single NAR-affiliated
24 MLS, and each MLS Conspirator. At the time the Clear Cooperation Policy was

25 adopted, PLS had members across the country, including in the service areas of the

26 MLS Conspirators.

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 1          65.    PLS launched successfully and grew quickly. At the time the Clear
 2 Cooperation Policy was adopted, nearly 20,000 licensed real estate professionals were

 3 cooperating to sell billions of dollars of residential real estate listings nationwide.

 4          66.    PLS was a serious competitive threat to the NAR-affiliated MLS system,
 5 and to the MLS Conspirators.

 6          67.    NAR and the NAR-affiliated MLSs, and the MLS Conspirators, were
 7 aware of this competitive threat and acted through the Clear Cooperation Policy and

 8 otherwise to eliminate this threat.

 9                NAR AND ITS AFFILIATES EXCLUDE COMPETITION
10          68.    For the NAR-affiliated MLSs, pocket listings are a form of lost market
11 share.    The NAR-affiliated MLSs were concerned that a critical mass of pocket
12 listings could be aggregated in a competing listing network, making possible for the

13 first time network-to-network competition to the MLS system.

14          69.    NAR-affiliated MLSs, and MRED, recognized that they could not
15 unilaterally eliminate the competitive threat that pocket listings posed, in part because

16 pocket listings are a national phenomenon and could create the possibility of a

17 nationwide competitor to the MLS system.           NAR-affiliated MLSs, and MRED,
18 recognized the need for collective action among NAR-affiliated MLSs, in the form of

19 a change to the mandatory provisions in NAR’s Handbook on Multiple Listing Policy

20 that would require all NAR-affiliated MLSs to take action to stamp out the possibility

21 of competitive entry presented by the rise of pocket listings.

22          70.    In August 2019, NAR’s MLS Technology and Emerging Issues
23 Advisory Board voted to recommend the adoption of what would become the Clear

24 Cooperation Policy at the upcoming NAR Convention in San Francisco, California.

25 The members present for this vote included executives of NAR-affiliated MLSs, and

26 Defendant MRED. On information and belief, MRED’s representative participated

27 in this NAR Advisory Board meeting as a representative of the Council of Multiple

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 1 Listing Services (“CMLS”), an association of approximately 200 MLSs, including

 2 NAR-affiliated MLSs and the MLS Conspirators.

 3        71.   NAR admits that the Clear Cooperation Policy was formulated and
 4 advanced by the NAR-affiliated MLSs, and by MRED. According to NAR, “The

 5 association’s MLS Technology and Emerging Issues Advisory Board, a group made

 6 up of brokers and MLS executives, developed the proposal in consultation with

 7 brokerage and MLS leaders across the industry.”

 8        72.   NAR-affiliated MLSs around the country communicate frequently and
 9 privately among themselves regarding pocket listings, using internet forums and

10 social media, and through CMLS.

11        73.   MRED’s Chief Executive Officer admits that these private interfirm
12 communications among NAR-affiliated MLSs, MRED, and the other MLS

13 Conspirators, were the means by which the Clear Cooperation Policy was formulated

14 and advanced.

15        74.   In September 2019, Bright MLS, MRED, and CRMLS were among the
16 signatories of the white paper issued by the largest NAR-affiliated MLSs that called

17 for collective action to address the threat to the MLS system presented by the rise of

18 pocket listings and the prospect of a competing listing network that would aggregate

19 such listings.

20        75.   On October 16, 2019, Bright MLS adopted a version of what would
21 become the Clear Cooperation Policy, before having any obligation under NAR rules

22 or otherwise to do so.

23        76.   On or around the same day, MRED published a statement supporting
24 adoption by NAR of the Clear Cooperation Policy at the upcoming NAR Convention.

25        77.   On October 17 and 18, 2019, NAR-affiliated MLSs, MRED, and the
26 other MLS Conspirators, met at a CMLS conference in Salt Lake City, Utah to discuss

27 the competitive threat presented by pocket listings and the need for NAR to take

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 1 action at the upcoming NAR Convention to eliminate that threat through adoption of

 2 the Clear Cooperation Policy.

 3        78.      On October 17, 2019, the Chief Executive Office of MRED addressed
 4 the assembled representatives of the NAR-affiliated MLSs at the CMLS conference.

 5 MRED’s Chief Executive Officer, who had attended the August NAR meeting where

 6 the Clear Cooperation Policy was first proposed and recommended, explained that the

 7 Clear Cooperation Policy was motivated by concerns that pocket listings were

 8 “making the MLS less valuable.”          At this October 2019 CMLS conference,
 9 representatives of the assembled NAR-affiliated MLSs were provided with copies of

10 MRED’s published statement in support of the Clear Cooperation Policy and urged

11 to review it.

12        79.      On October 17, 2019, the Chairman of Bright MLS addressed
13 representatives of the NAR-affiliated MLSs at the CMLS conference, recited the fact

14 that Bright MLS the day before had adopted a policy banning pocket listings, and

15 urged the assembled NAR-affiliated MLSs to adopt similar policies. The Chairman

16 of Bright MLS also urged the representatives of the NAR-affiliated MLSs to attend

17 the upcoming NAR Convention, and to work as a group at that meeting to ensure

18 NAR’s adoption of the Clear Cooperation Policy.

19        80.      Among other things, the Chairman of Bright MLS stated “Now, the
20 people who want to do pocket listings? They’re a little pissed. They’ll get over it.

21 We need to not worry about it. Because that’s bad for our industry, right? All right,

22 let me tell you what we all need to do. We have an opportunity in front of us to make,

23 put this policy into effect in November. And Bright adopted it yesterday, MRED’s

24 already adopted it, other people are already doing it, but we really need to get it

25 through.”

26        81.      The Chairman of Bright MLS continued on: “So what do we need to do?
27 We need to go back and talk to your Boards of Directors, talk to your big brokers, and

28 make sure that they understand we’re talking pocket listings and not everything else


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 1 and make sure that they understand. And then you need to make a policy statement.

 2 What are you guys going to do? And then you need to come to that MLS forum, and

 3 you need to line up at the microphone and say ‘Bright MLS, we’re all in. 8.0. Go.’”

 4 What would become the Clear Cooperation Policy was referred to at this time as MLS

 5 Statement 8.0.

 6        82.    The Chairman of Bright MLS explained to the representatives of the
 7 assembled NAR-affiliated MLSs that he anticipated a degree of resistance to passage

 8 of the Clear Cooperation Policy at the upcoming NAR Convention, in part from NAR

 9 members who wished to continue to offer pocket listings.

10        83.    The Chairman of Bright MLS urged the representatives of the assembled
11 MLSs to contact members of their MLS who were on NAR’s Board of Directors to

12 advocate for the adoption of the Clear Cooperation Policy at the upcoming NAR

13 Convention.

14        84.    The Chairman of Bright MLS urged the representatives of the assembled
15 NAR-affiliated MLSs to take collective action in the State of California to effect the

16 adoption of the Clear Cooperation Policy. Specifically, the Chairman of Bright MLS

17 said “I look forward to seeing you in San Francisco. I look forward to us, in this

18 room, getting this through.”

19        85.    In November 2019, NAR’s and the MLS Conspirators gathered in San
20 Francisco to take action on the Clear Cooperation Policy. On November 9, 2019,

21 NAR’s Multiple Listing Issues and Policies Committee approved the Clear

22 Cooperation Policy by a voice vote, sending the Policy to NAR’s Board of Directors.

23 Executives of the NAR-affiliated MLSs, including Bright MLS, and MRED, attended

24 this meeting and spoke in support of the Clear Cooperation Policy. As had been

25 discussed and planned at the October CMLS conference, other NAR-affiliated MLSs

26 did the same. At this meeting, elimination of competition to NAR-affiliated MLSs

27 from networks aggregating pocket listings was cited as a reason for passage of the

28 Clear Cooperation Policy.


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 1         86.    NAR’s Executive Committee reviewed and discussed the Clear
 2 Cooperation Policy at the San Francisco meeting on November 10, 2019. NAR’s

 3 Board of Directors approved the Clear Cooperation Policy at the San Francisco

 4 meeting on November 11, 2019.

 5         87.    NAR adopted the Clear Cooperation Policy over the complaints of some
 6 NAR members, who informed NAR that the policy was anticompetitive and likely

 7 illegal.

 8         88.    The text of the Clear Cooperation Policy provides:
 9         Within one (1) business day of marketing a property to the public, the
           listing broker must submit the listing to the MLS for cooperation with
10         other MLS participants. Public marketing includes, but is not limited to,
           flyers displayed in windows, yard signs, digital marketing on public
11         facing websites, brokerage website displays (including IDX and VOW),
           digital communications marketing (email blasts), multi-brokerage listing
12         sharing networks, and applications available to the general public.
           (Adopted 11/19).
13
           89.    The Clear Cooperation Policy was effective January 1, 2020, and was
14
     included as a mandatory rule in the 2020 version of the NAR Handbook on Multiple
15
     Listing Policy. NAR required that all NAR-affiliated MLSs, including Bright MLS
16
     and CRMLS, modify their rules to conform to the Clear Cooperation Policy by May
17
     1, 2020. NAR admits that all NAR-affiliated MLSs, including Bright MLS and
18
     CRMLS, must adopt and enforce the Clear Cooperation Policy. According to NAR,
19
     “By establishing a national policy, it is mandatory that all REALTOR® Association
20
     MLSs adopt the policy and have the same consistent standard.”
21
           90.    NAR admits that there are no exceptions for properties that are “publicly
22
     marketed.” According to NAR, “The new policy does not include an ‘opt out.’ Any
23
     listing that is ‘publicly marketed’ must be filed with the service and provided to other
24
     MLS Participants for cooperation within (1) one business day.”
25
           91.    Previously, NAR-affiliated MLSs had generally allowed members to
26
     withhold listings from the MLS if the seller of the property so desired. The Clear
27

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 1 Cooperation Policy eliminates this possibility, and in that way renders the provision

 2 of residential real estate brokerage services unresponsive to consumer demand.

 3        92.    The Clear Cooperation Policy does, however, have an exception that
 4 allows brokerages to maintain so-called “office listings,” or listings marketed entirely

 5 within a brokerage firm, without submission of those listing to the MLS.

 6        93.    NAR-affiliated MLSs, including Bright MLS and CRMLS, enforce the
 7 Clear Cooperation Policy by monitoring adherence to the policy, encouraging MLS

 8 members to report their colleagues using pocket listings, and through fines for non-

 9 compliance. For example, one MLS in South Florida, a market where consumer

10 demand for pocket listings is high, describes the penalties it levies for violations of

11 the Clear Cooperation Policy as “severe,” including maximum fines of up to $15,000

12 and possible suspension or termination of access to the MLS. The penalties imposed

13 by the NAR-affiliated MLSs for violations of the Clear Cooperation Policy are

14 intended to, and in fact do, make violations of the Clear Cooperation Policy cost-

15 prohibitive for NAR members, and are a constructive refusal to offer MLS services

16 to NAR members that violate the Clear Cooperation Policy.

17        94.    Since the adoption of the Clear Cooperation Policy, NAR-affiliated
18 MLSs have operated, or planned to operate, their own private listing networks,

19 effectively allowing their members to market off-MLS listings under the auspices of

20 the NAR-affiliated MLSs without violation of the Clear Cooperation Rule. MRED

21 has also operated a private listing network.

22        95.    NAR-affiliated MLSs and CMLS have admitted that the purpose of the
23 Clear Cooperation Policy was to maintain the market dominance of the NAR-

24 affiliated MLS system, and specifically to exclude PLS.

25                                 RELEVANT MARKET
26        96.    PLS and the NAR-affiliated MLSs, including Bright MLS and CRMLS,
27 and MRED, compete to offer listing networks that facilitate the sale of residential real

28 estate listings among licensed residential real estate professionals in the United States.


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 1          97.   The provision of listing network services to licensed real estate
 2 professionals for the sale of residential real estate listings is a relevant antitrust

 3 market. Consumers of listing network services for the sale of residential real estate

 4 listings view these networks, including the NAR-affiliated MLSs, MRED and PLS,

 5 as substitutes for each other. A hypothetical monopolist of listing network services

 6 for the sale of residential real estate listings could profitably impose a small but

 7 significant, non-transitory increase in price above competitive levels.

 8          98.   Listing network services are not a two-sided transaction market because
 9 listing networks do not involve a simultaneous sale between buyers and sellers of real

10 estate. No transaction between buyers and sellers occurs on these networks. The

11 networks simply list available residential real estate for sale and charges brokerages

12 monthly fees to access the network, regardless of whether their agents represent

13 buyers, sellers, or both. Access to the listing network gives real estate agents the

14 ability to list properties for sale or view available properties for sale.

15          99.   One relevant geographic market is nationwide. Licensed real estate
16 professionals and their customers seek listing network services that aggregate listings

17 nationwide, from across the United States. In the alternative, each and every service

18 area of a NAR-affiliated MLS, as well as the service areas of each MLS Conspirator,

19 is a relevant geographic market.        On information and belief, each of the MLS
20 Conspirators has enjoyed a durably high share of over 65 percent of residential real

21 estate listings marketed by licensed real estate professionals in their respective service

22 areas.

23          100. NAR and the MLS Conspirators collectively have substantial market
24 power in the relevant market or markets, however defined. Substantial barriers to

25 entry exist to protect that market power, as shown by the durably high market shares

26 enjoyed by the NAR-affiliated MLSs and NAR’s ability to exclude competition. One

27 substantial barrier to entry are the network effects that accrue to the NAR-affiliated

28 MLSs as a result of their large market shares. The value of an MLS to licensed real


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 1 estate professionals is a function of its market share. The greater the market share,

 2 the larger the network effects that accrue to the MLS, and the more important access

 3 to the MLS is to licensed real estate professionals. NAR and NAR-affiliated MLSs,

 4 including the MLS Conspirators, have the power to profitably elevate the prices paid

 5 by licensed real estate professionals for access to listing network services above the

 6 competitive level, and to impose onerous conditions of access on licensed real estate

 7 professionals, including the Clear Cooperation Policy.

 8                          NAR’S UNLAWFUL CONDUCT
 9        101. NAR and the MLS Conspirators agreed with one another to exclude PLS.
10 NAR and the MLS Conspirators had a conscious commitment to a common scheme

11 to prevent the emergence of a viable competitor to NAR-affiliated MLSs, to exclude

12 PLS from the relevant market, and to eliminate PLS as an effective competitor. NAR

13 and the MLS Conspirators took overt acts in furtherance of this conspiracy.

14        102. NAR is a combination or conspiracy among its members, who are
15 licensed real estate professionals who compete with one another. The members of

16 NAR, as a group and through the Board they elect and the staff they indirectly employ,

17 have agreed to, adopted, maintained, and enforced rules, including the Clear

18 Cooperation Policy, affecting how members compete to provide brokerage services,

19 participate in NAR-affiliated MLSs, and access MLS services. NAR’s members

20 agree (and adhere) to NAR’s code of ethics, bylaws, and rules as a condition of

21 membership. NAR’s rules, including the Clear Cooperation Policy, are therefore the

22 product of agreements and concerted action among its members, including the owners

23 of the NAR-affiliated MLSs. that operate and control the MLS Conspirators.

24        103. The adoption and enforcement of the Clear Cooperation Policy by the
25 NAR-affiliated MLSs is also the product of agreements and concerted action (i)

26 among the MLS Conspirators and (ii) between and among each NAR-affiliated MLS

27 and their members.       Each NAR-affiliated MLS is owned and controlled by
28 associations of competing real estate brokers, who collectively have the power to


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 1 admit new members, propose bylaws, and enact rules for members.              The NAR-
 2 affiliated MLSs’ rules are an agreement among competitors that define the way in

 3 which they will compete with one another.

 4        104. The Clear Cooperation Policy and the overt acts taken by NAR and
 5 NAR-affiliated MLSs in formulating, adopting, implementing, and enforcing that

 6 Policy, are unreasonable restraints of trade. Each of the MLS Conspirators joined the

 7 conspiracy to formulate and adopt the Clear Cooperation Policy for their own

 8 financial benefit and to eliminate the threat posed by upstart networks such as the

 9 PLS, and took overt acts in furtherance of that conspiracy.

10        105. The Clear Cooperation Policy imposes an “all or nothing” term on
11 licensed real estate professionals that seek to use listing networks: the licensed real

12 estate professional must either submit all such listings to the NAR-affiliated MLSs,

13 or risk losing access to the NAR-affiliated MLSs.

14        106. The “all or nothing” term imposed on licensed real estate professionals
15 by the Clear Cooperation Policy is exclusionary.

16        107. Because licensed real estate professionals generally believe that they
17 must submit at least a portion of their listings to NAR-affiliated MLSs to serve their

18 customers, the Clear Cooperation Policy predictably ensures that all listings are

19 submitted to NAR-affiliated MLSs.

20        108. By ensuring that all listings are submitted to NAR-affiliated MLSs, the
21 Clear Cooperation Policy eliminates the ability of listing networks that compete with

22 the NAR-affiliated MLSs to feature listings that are not on the NAR-affiliated MLSs,

23 and ensures that the NAR-affiliated MLSs will always offer a superset of the listings

24 available on any listing network.

25        109. By ensuring that the NAR-affiliated MLSs will always offer a superset
26 of the listings available on any listing network, the Clear Cooperation Policy degrades

27 the quality of competing listing networks, reduces the incentives of licensed real estate

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 1 professionals to use those competing listing networks, and makes those competing

 2 listing networks less effective competitors to the NAR-affiliated MLSs.

 3        110. By ensuring that the NAR-affiliated MLSs will always offer a superset
 4 of the listings available on any listing network, the Clear Cooperation Policy imposes

 5 a penalty on the use of competing listing networks and creates strong economic

 6 incentives for licensed real estate professionals to purchase listing network services

 7 exclusively from NAR-affiliated MLSs.             By ensuring that licensed real estate
 8 professionals accessing listings through a competing listing network pay twice for

 9 access to the same listings, the Clear Cooperation Policy creates strong economic

10 incentives for licensed real estate professionals to exclusively use NAR-affiliated

11 MLSs to avoid the surcharge imposed by the Clear Cooperation Policy on the use of

12 competing listing networks.

13        111. The Clear Cooperation Policy has had actual and substantial
14 anticompetitive effects by eliminating the ability and incentive of licensed real estate

15 professionals to market pocket listings through PLS, or any other listing network,

16 thereby harming competition in the market for the provision of listing network

17 services to licensed real estate professionals.

18        112. By eliminating the ability and incentive of licensed real estate
19 professionals to market pocket listings through PLS or any other listing network, the

20 Clear Cooperation Policy forecloses competing listing networks from access to a

21 critical mass of listings necessary to obtain significant network effects and compete

22 with the NAR-affiliated MLSs in the relevant market(s). All or nearly all active

23 licensed real estate professionals depend upon access to NAR-affiliated MLSs.

24        113. Through the Clear Cooperation Policy, NAR and the NAR-affiliated
25 MLSs maintained the cost of listing network services for residential real estate listings

26 above a competitive level, and otherwise stifled competition in the market for listing

27 network services for residential real estate listings. In that way, the conduct of NAR

28 and the MLS Conspirators harmed (i) real estate professionals serving both buyers


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 1 and sellers of residential real estate services that desired to use listing networks other

 2 than those operated by the NAR-affiliated MLSs, and also (ii) those buyers and sellers

 3 of residential real estate.

 4        114. The Clear Cooperation Policy also harmed consumers and competition
 5 by eliminating from the market a form of real estate brokerage services desired by

 6 consumers, and which lowered barriers to entry for listing networks competing with

 7 the NAR-affiliated MLSs and MRED. There was substantial consumer demand for

 8 pocket listings.      Before the Clear Cooperation Policy, licensed real estate
 9 professionals, including but not limited to NAR members, competed to offer pocket

10 listings, and listing networks that competed with the NAR-affiliated MLSs and

11 MRED were formed. Through the Clear Cooperation Policy, NAR restrained the

12 ability of licensed real estate professionals to offer those services. Because NAR and

13 its members collectively have market power, NAR’s restraint on the ability of licensed

14 real estate professionals to offer pocket listings has excluded competition in the

15 relevant market(s), restricted output of residential real estate brokerage services and

16 rendered the provision of those services unresponsive to consumer demand.

17        115. There is no cognizable or plausible procompetitive justification for the
18 unlawful conduct of NAR and the MLS Conspirators, or one that outweighs its

19 anticompetitive effects.       NAR’s tolerance of off-MLS listings when privately
20 marketed by NAR members that do not compete with the NAR-affiliated MLSs as

21 listing networks (the “office listing” exclusion) or under the auspices of NAR-

22 affiliated MLSs shows that NAR’s asserted justifications for the Clear Cooperation

23 Policy are pretext, and illuminate the purpose and effect of the Clear Cooperation

24 Policy as the elimination of competition to the NAR-affiliated MLSs in the relevant

25 market(s) from PLS and other listing networks not affiliated with NAR.

26        116. For nearly 60 years, NAR’s Bylaws have recognized that forcing NAR
27 members to list properties in the MLS in the routine provision of real estate brokerage

28 services is improper and not reasonably related to any legitimate business


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 1 justification. Since 1960, Interpretation No. 1 of Article 1, Section 2 of NAR’s

 2 Bylaws has provided that “A requirement to participate in a Multiple Listing Service

 3 in order to gain and maintain REALTOR® membership is an inequitable limitation

 4 on its membership. When a Multiple Listing Service is available, is well operated

 5 and properly organized, it is the duty of the REALTOR® to consider thoroughly

 6 whether he can serve the best interests of his clients by participating in it.     The
 7 decision, however, must be his own.      As a REALTOR®, it is possible for him to
 8 conduct business in an ethical and efficient manner without participating in a Multiple

 9 Listing Service.      Therefore, his participation must not be a requirement of
10 REALTOR® membership.”

11        117. According to NAR’s Handbook on Multiple Listing Policy, “Any
12 multiple listing activity in which it is compulsory that all members of an association

13 of REALTORS® participate and submit information on all designated types of

14 listings would be in direct conflict with the National Association’s bylaws, Article I,

15 Section 2, which bans the adoption by associations of REALTORS® of inequitable

16 limitations on membership.”

17        118. The Clear Cooperation Policy does not eliminate or prevent any free-
18 riding at the expense of NAR, NAR members, or the NAR-affiliated MLSs. NAR

19 does not itself provide MLS services. NAR can and does charge membership fees,

20 and can and does recoup the costs of providing its services in those fees. The NAR-

21 affiliated MLSs charge a membership fee for access to their listing networks, and can

22 and do recoup the costs of providing listing network services in those fees. The

23 membership fees charged by the NAR-affiliated MLS do not generally vary

24 depending on the number of listings submitted by NAR members to the MLS. PLS

25 members that sought to list properties on the PLS while also accessing a NAR-

26 affiliated MLS were not free-riding on NAR members that only submit listings to

27 NAR-affiliated MLS because PLS members that continued to also access the NAR-

28 affiliated MLS continued to pay fees to the NAR-affiliated MLSs. There were no


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 1 uncompensated services being provided by NAR, NAR members or NAR-affiliated

 2 MLSs to members of the PLS. Instead, NAR and the MLS Conspirators advocated

 3 for and/or adopted the Clear Cooperation Policy as a means of preventing the

 4 continued exponential growth of a competitor that was providing a lower cost and

 5 nationwide listing service.

 6        119. The Clear Cooperation Policy is also overbroad and restrains
 7 competition unnecessarily.      The Clear Cooperation Policy was passed by NAR
 8 members but limits the ability of licensed real estate professionals who are not NAR

 9 members to compete using alternative listing network services because even non-

10 NAR members generally depend upon access to the NAR-affiliated MLSs for at least

11 some of their business. NAR has no legitimate business justification for using NAR

12 rules to restrain the ability of non-NAR members to deal with PLS and other listing

13 networks that compete with the NAR-affiliated MLSs. The overbreadth of the Clear

14 Cooperation Policy illuminates its anticompetitive purpose and effect.

15        120. PLS suffered injury and damages as a result of the unlawful conduct of
16 NAR and the MLS Conspirators.            Adoption and implementation of the Clear
17 Cooperation Policy had the natural and intended effect on PLS’s business operations.

18 Listings were removed from PLS and submitted instead to NAR-affiliated MLSs.

19 Agent participation in PLS declined. PLS’s access to capital was constrained. PLS

20 was foreclosed from the commercial opportunities necessary to innovate and grow.

21        121. Injury to PLS was the direct, foreseeable and intended result of NAR and
22 MLS Conspirators’ conduct.         The conduct of NAR and the MLS Conspirators
23 simultaneously harmed PLS and consumers in the relevant market by excluding PLS

24 and thereby artificially maintaining or increasing the prices paid by licensed real

25 estate professionals for listing network services for the sale of residential real estate.

26 Although the mechanism of injury to PLS and to licensed real estate professionals

27 (and thereby to consumers) is the same, the damages caused by conduct of NAR and

28 the MLS Conspirators in the form of higher prices is distinct from, and not duplicative


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 1 of, the damages caused to PLS, which take the form of lost profits and damaged equity

 2 and goodwill.

 3                      UPDATED FACTUAL ALLEGATIONS
 4         122. PLS filed a Complaint in this Court in May 2020 naming as defendants
 5 NAR and the MLS Conspirators. See The PLS.com, LLC v. The National Association

 6 of Realtors et al, Case No. 2:20-cv-04790 (“PLS I”), ECF 1. PLS filed an Amended

 7 Complaint in July 2020. Id., ECF 46. The Amended Complaint was dismissed with

 8 prejudice for failure to state a claim upon which relief could be granted in February

 9 2021.    Id., ECF 97. The Ninth Circuit reversed, holding that PLS’s Amended
10 Complaint stated a claim for relief under Section 1 of the Sherman Act. PLS.Com,

11 LLC v. National Ass’n of Realtors, 32 F.4th 824 (9th Cir. 2022).

12         123. On January 25, 2024, NAR and PLS entered into a Tolling Agreement
13 and Stipulation. The Tolling Agreement and Stipulation, among other things, tolled

14 any applicable statutes of limitations for PLS’s claims against NAR from May 28,

15 2020, through the termination of the Tolling Agreement and Stipulation. The Tolling

16 Agreement and Stipulation had an expiration date of December 31, 2024. A true and

17 correct copy of the Tolling Agreement and Stipulation is attached hereto as Exhibit

18 A.

19         124. On January 26, 2024, PLS dismissed its claims against NAR without
20 prejudice. See PLS I, ECF 179.

21         125. On February 2, 2024, PLS dismissed its claims against the MLS
22 Conspirators with prejudice. See PLS I, ECF 180.

23         126. On March 14, 2025, but effective as of December 31, 2024, NAR and
24 PLS entered into an Amendment to the Tolling Agreement and Stipulation. The

25 Amendment to the Tolling Agreement and Stipulation, among other things, tolled any

26 applicable statutes of limitations for PLS’s claims against NAR from May 28, 2020

27 until June 30, 2025, unless earlier terminated by the parties. A true and correct copy

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 1 of the Amendment to the Tolling Agreement and Stipulation is attached hereto as

 2 Exhibit B.

 3        127. Paragraphs 1-121 of this Complaint are substantively identical to the
 4 Amended Complaint filed by PLS in July 2020 (PLS I, ECF 46), with the omission of

 5 the MLS Conspirators as defendants and non-substantive changes to reflect that

 6 omission.

 7        128. NAR’s Clear Cooperation Policy remains in effect as alleged herein and
 8 continues to have anticompetitive effects as alleged herein.

 9        129. NAR’s Clear Cooperation Policy continued to have its natural and
10 intended effect on PLS’s business operations through August 2024, when PLS

11 discontinued the provision of listing network services and exited the relevant market.

12 At all relevant times, the Clear Cooperation Policy materially impaired PLS’s

13 business operations by preventing it from attracting a critical mass of listings

14 sufficient to compete effectively in the relevant market for listing network services

15 for the sale of residential real estate listings. The Clear Cooperation Policy had a

16 direct, material and adverse effect on PLS’s business operations through August 2024

17 including diminished profits and diminished enterprise value and was throughout that

18 time a material cause of injury to PLS’s business and property. PLS exited the

19 relevant market as a direct result of the anticompetitive effects of the Clear

20 Cooperation Policy.

21                            PLS’S CLAIM FOR RELIEF
22                                     COUNT ONE
23                            (Violation of the Sherman Act)
24        130. PLS hereby restates Paragraphs 1 through 129 of this Complaint. NAR’s
25 conduct as alleged herein is an unreasonable restraint of trade in violation of Section

26 1 of the Sherman Act, 15 U.S.C. § 1.

27        131. NAR’s conduct has caused injury and damage to PLS in the form of lost
28 profits.


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 1        132. NAR’s conduct has caused injury and damage to PLS in the form of lost
 2 enterprise value, equity and goodwill, diminishing the value of PLS as a going

 3 concern.

 4                                PRAYER FOR RELIEF
 5        WHEREFORE, PLS respectfully prays for relief and judgment against NAR as
 6 follows:

 7        1.     Award compensatory and trebled damages in favor of PLS and against
 8 NAR, including all interest thereon;

 9        2.     Award PLS reasonable costs and expenses incurred in this action,
10 including attorneys’ fees and expert fees; and

11        3.     Any other and further relief as the Court deems just and proper.
12                          DEMAND FOR TRIAL BY JURY
13        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
14 demands a trial by jury on all issues so triable.

15 DATED: July 1, 2025                     By: /s/ Christopher G. Renner
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